                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 1 of 20




                                                                                EXHIBIT 8025.R

HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559558.R
                                                                               EXHIBIT 8025.R-001
                             Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 2 of 20




●     Want to land with news big and small in terms of pricing; keep simple and understandable; technical integration it is what it is, but
      economics




    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                               GOOG-PLAY-000559559.R
                                                                                                              EXHIBIT 8025.R-002
                                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 3 of 20


Slide 2

1              I could be wrong, but I thought one thing Sameer liked about the previous slide was the that it had the partner category (incluing the
               games /apps column) so clearly delineated.

               I think this is harder to parse quickly. For instance, I find it confusing that games is in the middle....
               Paul Feng, 6/17/2020

2         Purnima Kochikar@google.com I suggest moving Partner category and a re-added games / apps column to the far left.
               Paul Feng, 6/17/2020

3      Sameer Samat@google.com suggested talking points -
               - Play has always been partner centric and taken into account constraints imposed by industry structure/ business challenges for
               partners in the media and music industries with programs such as LRAP etc, which lower the Play Service Fee in return for partner
               investment in our strategic bets. ATV for example. These programs are going well. When we roll out the policy we expect to expand
               these programs to include more partners.

               - Over the last two years we have also been thinking of ways to deepen our partnership with game developers so we continue to
               provide value for the fee we charge, where we reinvest a part of our fees for driving developer business growth on Play/Android and
               increasing xGoogle investment. This is the Games Velocity Program, aka Project Hug.

               - As we roll out Play policy changes we believe we have an opportunity to similarly lean into app partners in the dating, comms,
               productivity verticals and deepen the xGoogle partnership and secure Play Billing integration.
               Purnima Kochikar, 6/17/2020

2              I was thinking about linearly telling the story that this is not new. We have been flexing our business model to address dev
               needs/sentiment/demands

               we have successfully done this across various verticals apps and games. I am not sure Sundar thinks about the world as Apps and
               games, to be honest. I think he views our partners as part of various verticals. That's how Don thinks about them as well. Apps and
               games is our classification that does not make much sense in the real world, IMO
               Purnima Kochikar, 6/17/2020

1         Paul Feng google.com see new slide version.
           Sam Tolomei google.com please add eligibility criteria for the various App programs
               Purnima Kochikar, 6/17/2020

1              updated criteria
               Sam Tolomei, 6/17/2020




    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                              GOOG-PLAY-000559560.R
                                                                                                                             EXHIBIT 8025.R-003
                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 4 of 20




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559561.R
                                                                               EXHIBIT 8025.R-004
                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 5 of 20




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559562.R
                                                                               EXHIBIT 8025.R-005
                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 6 of 20




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559563.R
                                                                               EXHIBIT 8025.R-006
                               Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 7 of 20


Slide 5

1            thx good point
             Danielle Martinak, 6/17/2020

2         Danielle Martinak@google.com FYI removed the match group entities that were listed, as we are approaching Match about all of them in
             Wave 0 (so i removed tinder, POF, okcupid, meetic, Hinge)
             Sam Tolomei, 6/17/2020

2            *agree it makes for this slide but maybe not the previous?
             Danielle Martinak, 6/17/2020




    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                 GOOG-PLAY-000559564.R
                                                                                                                 EXHIBIT 8025.R-007
                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 8 of 20




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559565.R
                                                                               EXHIBIT 8025.R-008
                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 9 of 20




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559566.R
                                                                               EXHIBIT 8025.R-009
                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 10 of 20




             Redacted - Privilege


HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559567.R
                                                                               EXHIBIT 8025.R-010
                  Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 11 of 20


Slide 8




Redacted - Privilege




 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559568.R
                                                                                EXHIBIT 8025.R-011
                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 12 of 20




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559569.R
                                                                               EXHIBIT 8025.R-012
                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 13 of 20




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559570.R
                                                                               EXHIBIT 8025.R-013
                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 14 of 20




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559571.R
                                                                               EXHIBIT 8025.R-014
                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 15 of 20




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559572.R
                                                                               EXHIBIT 8025.R-015
                                Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 16 of 20


Slide 12
                                                                        Mrinalini Loew
4          Hareesh Pottamsetty@google.com Andrew Zaeske@google.com                       gle.com - I whipped this slide up yesterday and thought I
               commented you guys in. Thoughts?
               Paul Feng, 6/17/2020

6              I don't know for sure, but this would be codifying it.
               Paul Feng, 6/17/2020

2              I was interpreting this option as more the 3P developers could experiment with beta features the same way that 1P could. EAP is once
               *we* implemented a feature to test we recruit devs (1P & 3P) to test it out before GA
               Mrinalini Loew, 6/17/2020

2              I just don't know how that would work technically though?
               Andrew Zaeske, 6/17/2020

1              don't we already do this with EAP features we've launched?
               Andrew Zaeske, 6/19/2020

7              They would build on theirs stuff, and then we would need to replicate.
               Paul Feng, 6/19/2020

1              Process would need to include what happens if beta feature is good for 1P but not positive for the platform. Who's responsibility would
               it be to iterate the feature to make it a positive feature for the platform?
               Mrinalini Loew, 6/19/2020

5              I think we would just need to release it.
               Paul Feng, 6/19/2020




    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                           GOOG-PLAY-000559573.R
                                                                                                                          EXHIBIT 8025.R-016
                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 17 of 20




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559574.R
                                                                               EXHIBIT 8025.R-017
                                Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 18 of 20


Slide 13

1              Hi Paul - summarized audience and goals of the briefing. Lmk what you think.
               Divya Chandra, 6/17/2020

8             Divya Chandra@google.com , Josh O'Connor@google.com - would it be possible to put in a slide that talks about the upcoming
               finance briefings, and who is being briefed this week?
               _Reassigned to Divya Chandra_
               Paul Feng, 6/17/2020

1          Christian Cramer@google.com
               Josh OConnor, 6/17/2020




    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                               GOOG-PLAY-000559575.R
                                                                                                               EXHIBIT 8025.R-018
                 Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 19 of 20




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY-000559576.R
                                                                               EXHIBIT 8025.R-019
                                Case 3:21-md-02981-JD Document 888-26 Filed 12/21/23 Page 20 of 20


Slide 14

3              Ok thanks will rework the slide
               Danielle Martinak, 6/17/2020

4              Updated, LMK if it's still unclear
               Danielle Martinak, 6/17/2020

1              from my perspective this is a non issue - we have fund a temporary funding solution and are hiring - so I am not convinced we need to
               have it on the chart
               Christian Cramer, 6/17/2020

2              all 8 HC will eventually have to be funded though - think that needs to be made clear
               Christian Cramer, 6/17/2020

2          Danielle Martinak@google.com
               As per ping, Christian tells me the team is open to hire for this role so it should not be a blocker.

           Christian Cramer@google.com

           Paul Feng @google.com FYI
               Josh OConnor, 6/17/2020

5              Good to call out 1 of 8 is in the works, makes sense thanks
               Danielle Martinak, 6/17/2020




    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                         GOOG-PLAY-000559577.R
                                                                                                                        EXHIBIT 8025.R-020
